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      Attorneys for Defendant
 11   Alteryx, Inc.
 12
 13                      UNITED STATES DISTRICT COURT
 14                     CENTRAL DISTRICT OF CALIFORNIA
 15
 16   DAVID KACUR,                         Case No. 8:17-cv-02222-JLS-KES
 17                     Plaintiff,         Stipulation to Extend Time to Respond
                                           to Initial Complaint By 30 Days (L.R.
 18         v.                             8-3)
 19   ALTERYX INC.,                        Complaint served: December 28, 2017
 20                     Defendant.         Current response date: January 18, 2018
                                           New response date: February 16, 2018
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                                                                    JOINT STIPULATION
                                                                  PURSUANT TO L.R. 8-3
                                                                  8:17-CV-02222-JLS-KES
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  1           Pursuant to Local Rule 8-3 of the United States District Court for the Central
  2   District of California, Plaintiff David Kacur and Defendant Alteryx, Inc. hereby
  3   stipulate as follows:
  4           WHEREAS, Plaintiff filed his Complaint in the above-entitled action on
  5   December 20, 2017;
  6           WHEREAS, Plaintiff served the Complaint on Alteryx on December 28,
  7   2017;
  8           WHEREAS, the current deadline for Alteryx to respond to the Complaint is
  9   January 18, 2018;
 10           WHEREAS, pursuant to Local Rule 8-3, the parties have agreed and
 11   stipulated that Alteryx shall have an additional 30 days after January 18, 2018, to
 12   respond to the Complaint; and
 13           WHEREAS, no other requests for extension have been made or granted.
 14           NOW, THEREFORE, IT IS HEREBY STIPULATED that Alteryx shall
 15   have until February 16, 2018 to respond to Plaintiff’s Complaint.
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                                                                            JOINT STIPULATION
                                                -2-                       PURSUANT TO L.R. 8-3
                                                                          8:17-CV-02222-JLS-KES
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  1         Dated: January 17, 2018        O’MELVENY & MYERS LLP
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  3                                        By:   /S/ Randall W. Edwards
                                                 Randall W. Edwards
  4
                                           Attorneys for Defendant
  5                                        Alteryx, Inc.
  6
            Dated: January 17, 2018        GREEN & NOBLIN, P.C.
  7
  8                                        By: /S/ Robert S. Green
                                               Robert S. Green
  9
                                           Attorneys for Plaintiff
 10                                        David Kacur
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                                                                       JOINT STIPULATION
                                          -3-                        PURSUANT TO L.R. 8-3
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  1                             SIGNATURE ATTESTATION
  2                I hereby attest that the other signatories listed, on whose behalf the
  3   filing is submitted, concur in the filing’s content and have authorized the filing.
  4
  5         Dated: January 17, 2018              O’MELVENY & MYERS LLP
  6
  7                                             By:    /S/ Randall W. Edwards
                                                       Randall W. Edwards
  8
                                                Attorneys for Defendant
  9                                             Alteryx, Inc.
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                                                                            JOINT STIPULATION
                                               -4-                        PURSUANT TO L.R. 8-3
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